  Case: 4:17-cv-01635-RWS Doc. #: 3 Filed: 06/27/17 Page: 1 of 1 PageID #: 17



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

                                                x
                                                : Case No.: 4:17-cv-01635
ERIC JOHNSON, on behalf of himself and          :
others similarly situated,                      :
                                                :
                              Plaintiff,        :
                                                :
       vs.                                      :
                                                :
RECEIVABLE SOLUTIONS, INC.,                     :
                                                :
                              Defendant.
                                                :
                                                x
                          NOTICE OF VOLUNTARY DISMISSAL

       Eric Johnson voluntarily dismisses this action, without prejudice, pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

Dated: June 27, 2017                         /s/ Anthony LaCroix
                                             Anthony LaCroix
                                             LaCROIX LAW FIRM, LLC
                                             406 W. 34th Street, Suite 810
                                             Kansas City, MO 64111
                                             Telephone: 816.399.4380
                                             Tony@lacroixlawkc.com

                                             Counsel for Plaintiff


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused the foregoing to be filed electronically with the Court’s

ECF system on June 27, 2017, which will cause a copy to be served on all counsel of record.


                                             /s/ Anthony LaCroix
                                             Anthony LaCroix
